                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                            Plaintiff,

       v.                                                      Case No. 04-CR-0248

ELNORA M. CALIMLIM,

                            Defendant,

CHARLES SCHWAB & CO., INC.,

                            Garnishee-Defendant.


                          AMENDED ORDER OF GARNISHMENT


       A Writ of Garnishment, directed to garnishee-defendant has been duly issued and

served upon the garnishee-defendant. Pursuant to the Writ of Garnishment, the garnishee-

defendant, CHARLES SCHWAB & CO., INC., filed an Answer on October 10, 2007, stating

that the defendant , ELNORA M. CALIMLIM had accounts with CHARLES SCHWAB &

CO., INC., at the time of the service of the Writ, and that the garnishee-defendant had in its

possession, custody or control, wages, income or other personal property belonging to and

due the defendant.

       The defendant remains indebted to the plaintiff in the sum of $891,722.30.

     ACCORDINGLY, IT IS ORDERED that the garnishee-defendant, shall liquidate and

convert to cash any and all securities held by the defendant, and turnover to the plaintiff, the

United States of America, any and all of the proceeds of such conversions, in any and all of

the accounts in the name of Elnora M. Calimlim, held by Charles Schwab & Co., Inc.




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Payment shall be made payable to the "U.S. District Court Clerk," with the debtors case

number 04-CR-0248, on the draft and sent to the Clerk of the U.S. District Court, 362

Federal Building, 517 E. Wisconsin Avenue, Milwaukee, Wisconsin 53202-4580.

      IT IS FURTHER ORDERED that any amounts which the garnishee-defendant may

be holding pursuant to the Writ of Garnishment shall immediately be turned over to the

United States Attorney at the above address.

      Dated at Milwaukee, Wisconsin this 13th day of December, 2007.



                                        s/ Rudolph T. Randa
                                        HON. RUDOLPH T. RANDA
                                        CHIEF UNITED STATES DISTRICT JUDGE




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